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       EXHIBIT E
                           Case 1:21-cv-03068-BAH Document 40-6 Filed 07/26/22 Page 2 of 3
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   Of Counsel                                   eeeaa
Stephen J. Annino 4±6iti                                                                        WRITER'S Direct Ext: 204
                                                             Attorneys at Law                       WRITER'S E-Mail:
                                                                                               JPURDY@FULLERTONLAW.COM
    ADMITTED In:
    4= District of Columbia                               1 2642 Chapel Road
    ± Maryland                                                                                       Website:
    5 Pennsylvania                                      Clifton, Virginia 201 24               www.fullertonlaw.com
       Virginia
                                                        Telephone (703)818-2600
                                                         Facsimile (703)818-2602



                                                        November 12, 2021

                              SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

          Richfield Farms, LLC
          4440 East New Market Hurlock Road
          Hurlock, MD 21643

          Depcom Power
          9185 E Pima Center Pkwy Suite 100
          Scottsdale, AZ 85258

          Bighorn Construction & Reclamation, LLC
          777 Main Street, Suite 2800
          Fort Worth, TX 76102

          XL Specialty Insurance Company
          70 Seaview Avenue
          Stamford, CT 06902

           Re:       Project:        MD70 Richfield Solar Farm in Hurlock, Maryland
                     Our Client:     United Rentals (North America), Inc.
                     Debtor:         Bighorn Construction & Reclamation, LLC

           To Whom it May Concern:

                   Please be advised that 1 am counsel for United Rentals (North America), Inc. (“United’').
           Bighorn Construction & Reclamation, LLC (“Bighorn”) is indebted to our client for construction
           rental equipment supplied in and about the construction of improvements on the above referenced
           project in the amount of Two Hundred Sixty Five Thousand Three Hundred Thirty Six and 50/100
           Dollars ($265,336.50).

                   Please take notice that our client hereby makes claim on the payment bond provided on
           the project by the general contractor and any subcontractor payment bond. Please forward a
           copy of all payment bonds on the project at your earliest convenience.

                  We are also now in the process of preparing a mechanic’s lien to be filed on the project. We
           continue to hope that an amicable resolution of this case can be achieved. However, if payment is not
           promptly received, it will be necessary to exercise our mechanic’s lien rights on the project.


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        Please also take notice of Maryland Code Section 9-201, et. seq., commonly known as
the “Maryland Trust Fund” Statute. Any funds now owed to the Debtor for labor and materials
supplied to any construction project are held in Trust by your company and the Debtor for the
benefit of our client, because these funds were derived from labor and materials furnished by our
client. Your company and the Debtor must see that funds received are paid on the account of our
client. Each officer, director, or managing agent of your company and of the Debtor is a trustee
and may be held personally liable for these funds if they are not used for the purpose of paying
the labor and materials suppliers who are entitled to the funds.

       Please also take notice that our client has the benefit of an equitable lien on any funds
now held by the owner or general contractor on the project. These Retained Funds are not
property of the Debtor; our client has an equitable right or a trust interest in those Retained
Funds, with priority as to those Retained Funds over other creditors of the Debtor and allowing
payment of those Retained Funds to our client.

         Please contact me to let us know the status of accounts between you and the Debtor and
other matters described in this letter. We would be happy to answer any questions that you have
to us at that time. Please provide us with the name and address of any other general contractor so
that we may provide them with notice also. Please let us know if you need to see copies of our
invoices or any other documents. Any help you can provide us in obtaining payment will be
mutually beneficial.

       1 look forward to your prompt attention to the above matters and to hearing from you soon.




                                                     Sincerely,



                                                     John D.




cc: United Rentals (North America), Inc.




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